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                                          August 21, 2023
 VIA CM/ECF & HAND DELIVERY

  The Honorable Gregory B. Williams
  United States District Court
   for the District of Delaware
  844 North King Street
  Wilmington, DE 19801

                Re:     Cirba Inc. (d/b/a Densify), as successor-in-interest to Cirba IP, Inc. v.
                        VMware, Inc., C.A. No. 19-742-GBW

 Dear Judge Williams:

        VMware has prepared hyperlinked versions of the following post-trial submissions and is
 enclosing two (2) USB drives, each containing a full set of the post-trial submissions and cited
 declarations, exhibits, case filings, and legal authorities 1:

     •   [SEALED] VMware’s Opening Brief in Support of Its Renewed Motion for Judgment as
         a Matter of Law and Motion for a New Trial (D.I. 1829);

     •   [SEALED] VMware’s Answering Brief in Opposition to Cirba’s Post-Trial Motions (D.I.
         1838); and

     •   [SEALED] VMware’s Reply Brief in Support of Its Renewed Motion for Judgment as a
         Matter of Law and Motion for a New Trial. (D.I. 1847).

        Contemporaneously with this filing, counsel are also emailing electronic copies of the
 foregoing to chambers and Cirba’s counsel with the necessary access instructions.




 1
  Please also note that, in preparing these papers, VMware identified one citation error in its reply
 post-trial brief (D.I. 1847), where “Id. 3” in the final line of page 1 should have cited to “Opp. at
 3”. The enclosed hyperlinked version of the reply brief therefore links to the corrected citation,
 which is page 3 of Cirba’s opposition to VMware’s post-trial motion.

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                                                 Respectfully,

                                                 /s/ Anne Shea Gaza

                                                 Anne Shea Gaza (No. 4093)
 Enclosures

 cc: All Counsel of Record (CM/ECF and E-Mail)
